Case 7:13-cv-02586-NSR Document 37-12 Filed 04/1 7424 Page 1 df.32

a
another no accommodation and retaliation in October 2011 Balascio, Santos and Maung - Outlaok Web App, light version | \ ay J 3/30/14 2:24 Ph
\ re
7 Wwe ax
Type here tosearch Entire Mailbox Vv - 35] Options Sign out

Outlook Web App

o4\fca 4 atx

Deleted Items
Drafts

Inbox (697)
Junk Email

Sent Items (2)

Al @. Ke!

Click to view all folders ¥

Attached Receaved (2)
E-mails fromstudents
Letters From FED & State
Notes From Financial Aid
Notes From Registar

Manage Folders,,.( | ~

re

Bi ie

%

Ses
i

hKttne://vemailrach nurchace atii/awa/2aecitamA&tsIPM NateRid=RaAA lakKV MRSA? 2 SAmsRATWARadeal7 AAAALKTARCIANS IOX®IHAGE ANRVIALITOKnn A AAl

Ay

another no accommodation and retaliation in

October 2011 Balascio, Santos and Maung
MORALES, EDWARD

You forwarded this message on 6/22/2013 11:02 PM.

Sent:
To:

Wednesday, August 8, 2012 12:40 PM

lL ; +MoserG@ gov; ’
7c ; Delate, John; ales, ; , :
; Mait, Ronnie; Maung, Sandee

Attachments: +) CCF08082012 0001. jpq (811 KB); CCF08082012 0000. ipa (617 KB)

Mr.
Jame Moser

On or about October 2011 I went to the
residential life building; I was very sick, with
spasms to the spine and neck. I knock a semi-open
door, Ms Maung's office ( I did not know her); ~
she was with 2 other students, I asked if I could
use her office phone, because i was feeling very
sick and that I needed transportation; I also
told her that I was disable and that the college
knew. She said to go back to Humanity building
and ask there, she was very arrogant, and I told
her I was going to complain. She later accussed
me of a misconduct issue. I file a complaint with
QUI-QUI BALASCIO--which by you should be familiar
with, she is the person that orchestrated the
retaliation action 2 weeks ago--and she said
that...see attached. Balascio is the same lady
that put me on provation two eeks ago, she is
also being named on both "Intention of Legal
Actions". I did attended to the hearring. Santos
found me responsible; he said I never attended
the hearing. Later I found that Balascio, Santos
and Maung work together. I could have a severa
compression on my discs that could killed me. And
this is what I get.

E Morales

Dane 1 nf
— Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 2 of 32
rr

another no accommodation and retaliation in October 2011 Balascio, Santos and Maung - Outlook Web App, light version 3/30/14 2:24 Ph

CC

Wendy L. Kowalczyk

Associate Counsel

Office of General Counsel

The State University of New York

State University Plaza - Albany, New York 12246
Tel: 518.320.1400 Fax: 518.320.1541

Connected to Microsoft Exchange

httne://vemaileach1 nurchace ediu/nwa/Jaasitam&it=IPM NnteQid=RnAA kekKVmRSn225Am7RATWA Rae 7AAAALLT ARAN SINGIHAGE ANRVIALIT Kann AAAI Pane 3 nf
Case 7:13-cv-02586- ‘® Sere 37-42 oe o4/a 7/4 Pans 32
AANA Ny

pre-hearing - Outlook Web App, light version

Outlook Web App

 

Deleted Items
Drafts

Inbox (697)
Junk Email

Sent Items (2)

iI

Click to view all folders ¥

Attached Receaved (2)
E-mails from students
Letters From FED & State
Notes From Financial Aid
Notes From Registar

UERPOL

Manage Folders...

, 3/30/14 2:26 Ph
ete ~t /
Mos Leu Coy.
Type here to search _ Entire Mailbox ve 3] Options Sign out
ba Rex LS) Xx
pre-hearing

MORALES, EDWARD
You forwarded this message on 6/22/2013 11:00 PM.

Sent: Tuesday, February 12, 2013 5:41 PM
To: Wendy.Kowalczyk@suny.edu; Baptiste, Michele

Mrs. Kowalczyk.

On the upcoming--no date yet--preliminary
hearing, I strongly recommend Ms Jone stays
within all legal parameters, whether Federal
Titles and/or State law, of legal procedures.
Also, be aware/notified that if I agree to any
"pre/hearing" it, by no means, I will be waiving
of my civil rights and further preceding or
actions on a higher Judicial system of law
enforcement; these may take place.

Thanks,

Edwardo Morales

SUNY Purchase College
735 Anderson Hill Rd
Box #0004

Purchase, NY 10577
(914) 751-4388

Connected to Microsoft Exchange

httne://uemaileach niirchace adi fhwa/?ae=Pra-nrmActinn&t=IPM NnteRa=Nel Panp 1 nf
re Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 4 of 32

   

  

For: Erin Peters, Assistant Director of Transfer
Admissions

Fax number: 518-564-2045 i

 
 

i

Sass

From: Melissa Jones, Community Standards Purchase
College, S.U.N.Y.

Fax number: (914) 251-6034

=
:
Le
Li
¥
Re

Date: January 9, 2014

 

Regarding: Edward Morales - Additional Documents

 

Number of pages: 29 (including cover)

Comments: CONFIDENTIAL

Per our conversation on January 7, 2014, please find
the additional information that was requested
regarding reports related to Edward Morales’s
disciplinary action for the review board.

 

if If you have questions, please feel free to contact me at
aS) (914) 251-6033

 

 

    
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 5 of 32

L Purchase College

STATE UNIVERSITY OF NEW YORK
Office of the Vieo President for Student Altairs

Pureh ise College

Stats Caiversity of New York
735 Anderson Road
Purchase. NY 10877-1400

tel 914 251 6030
fax 911 251 6034

January 9, 2014

Erin Peters

Assistant Director for Transfer Admissions
State University of New York at Plattsburgh
101 Broad Street

Plattsburgh, New York 12901

RE: Edward Morales Release of Disciplinary Records

Dear Ms. Peters:

I am attaching the following explanation regarding whether the applicant, Edward Morales, has
been subject to disciplinary action while in attendance at Purchas College, S.U.N.Y., during his
attendance between the Fall 1998 — Spring 2013 semesters.

Mr. Morales was found responsible for F.6 (failing to respect the ongoing legitimate functions
of classes, meetings, office procedures, study, sleep, or any authorized activity) on October 24,
2011 and was sanctioned to a disciplinary reprimand. Please reference Student Affairs Incident

#342 for additional information.

Mr. Morales was found responsible for plagiarism on October 26, 2011 and assigned a
permanent F for the course “SPA 3800: Translation Workshop Spanish.” Please reference the
report entitled “Academic Integrity Notification Form” for additional information

Mr. Morales was found responsible for F.3 (violates a no contact order issued by the college)
on July 24, 2012 and sanctioned to disciplinary probation through July 24, 2013. Please
reference Student Affairs Incident #1132 for additional information.

Mr. Morales was found responsible for D.3 (damages, defaces, destroys, or tampers with
property owned by the college or in possession of another person), C.3 (threatens, harasses, or
intimidates), F.1 (fails to respond to the reasonable request of college officials who are acting
within their authority) on March 20, 2012 and sanctioned to disciplinary probation through July
24, 2014. Please reference Student Affairs Incident #1749 and University Police Report #590-

13 for additional information.
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 6 of 32
Mr. Morales was found responsible for F.3 (violates a no contact order issued by the college),
C.3 (threatens, harasses, or intimidates), and F.6 (failing to respect the ongoing legitimate
functions of classes, meetings, office procedures, study, sleep, or any authorized activity) on
April 3, 2013 and sanctioned to suspension effective April 8, 2013 at 1 pm through August 1,
2013. Please reference Student Affairs Incident #2090 and University Police Report #1559-13
for additional information.

It should also be noted that Mr. Morales is currently declared Persona Non Grata from the State
University of New York at Purchase College due to pending disciplinary action from an
incident reported on August 15, 2013. In turn, Mr. Morales may not at any time for any
purpose be present on campus. Please reference University Police Report #3111-13 for

additional information.
If you require any additional information, please feel free to contact me at (914) 251-6033.
Sincerely.
bf |

c= F i { , le
‘Meliss Jones
Director for Community Standards
Case 7:13- “Gu 02586- NSR Dgcument 37-12 Filed 04/17/14 Page 7,of 32

evi -'o So ky < cHool ©

 

  
  

Dost Wis Soc
Santos, Denny  \J se! UO (WO WHS RGO
From: sandee,.maung@purchase.edu
Sent: Wednesday, October 19, 2011 12:41 PM
To: Santos, Denny
Subject: Please complete Initial Conference. schedule it up here, using the hearing room, which is rm
322
Follow Up Flag: Follow up
Flag Status: Flagged 7 Sy
) \o
al — ‘<a & gst |
et Peas on

= ‘ ¢ sk “\ athe ,

Purchase College er pe Mee

NIEML

STATE UNIVERSITY OF NEW YORK oe G & fe

Office of the Vice President for Student Affairs \ WY &
° \/\ ( <I aa N “*< OWE

Purchase College vgs - . cS A SY
State University of New York é VWel& .
735 Anderson Hill Road \\ g
Purchase, NY 10577-1400 \ OY

Phone (914) 251-6030
Student Affairs Incident Report .

Incident Number: 342 Report Number: 342

INCIDENT TYPE
Other

INCIDENT TOOK PLACE
Date: 10/18/2011 Time: 04:55 PM
Location: New Student Services,Room 317

REPORT
Date Submitted: 10/19/2011 Position: Staff Filed By: Melissa Jones CID: (008 Building: Student

Services Room: 312 Work Phone (914)251-6033
PERSONS ALLEDGLY INVOLVED
Name: Edward Morales CID:

WITNESS TO INCIDENT
Name: Sandee Maung CID: 0 Building:Student Services Room:317 Work Phone 9142516027

POLICE REPORT INFO
[x] No police report
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 8 of 32

Purchase College

State University of New York \ edit (\ C Dy
= Vw en
CoN | xy

735 Anderson Hil] Road
Purchase, NY 10577-1400

Phone (914) 251-6030 KA LC AX WW
eO'"4) MAA €
Student Affairs Incident Report N (3
Incident Number: 342 Report Number: 343 a
rer

INCIDENT TYPE

Other on
a

INCIDENT TOOK PLACE

Date: 10/18/2011 Time: 04:50 PM Vor
Location: Student Services,317 VO

REPORT
Date Submitted: 10/19/2011 Position: Staff Filed By: Sandee Maung CID: Building: Student

Services Room:317 Work Phone (914)251-6027

PERSONS ALLEDGLY INVOLVED

Name: Edward Morales CID: Re hd

WITNESS TO INCIDENT

Name: Alejandro Ceballos CID: Be al Building: Room: Cell Phone J

Name: Melissa Jones CID: 0 Building:Student Services Room:312 Work Phone 9142516033

Name: Victoria Stern CID: EBaacga es Building: Room: Cell Rone pay
M7

POLICEREPORTINFO ——_"\'_ ¢ ash wer ) \\ K-
N li rt t ’ _ te Re
[x] No police repo Vor WO J , oA UdSEE (\. AU W/U

INCIDENT DESCRIPTION ay. {S Wo \\ BY it VOL WASSAW UE
On Tuesday, October 18, 2011 at 4:50pm, Melissa Jones and 2 RA's were meetingto discuss a program that Ee
would occur next week. Edward Morales walked by the door and said he negds to use the phone right now Wn O% S
because there are documents that he needed to (either send or receive) :00pm. He said that every office has ~\\\—~
sent him all over the place and sent him here to use the phoné e just wants to use the phone because he tat a
does not have a cell phone. I looked at Melissa and Melissa looked at me and then looked at Edward and said el
what office sent you here? I am not 100% sure but I believe he said, "do you hear me? I said I need to use the V\ .
phone, I have to do this before 5:00pm, all I want is to use the phone, and nobody is letting me use the phone. I 3
then asked what is the phone call in regards to. And he replied that he needs to use the phone for documents -

and why doesnt anyone let him use the phone and that he is a student and he wants to use the phone now.

Melissa then looked at me and asked where he could he use a public phone.... maybe UPD? Then she looked

towards his way and we both said UPD, and Victoria Stern the RA said yes, you should be able to access the

phone at UPD. He then said NO, I dont want to use the phone at UPD, UPD, sent me here. I want to use the

phone now. He then began pacing in agitation and he said I dont understand why everybody is so unhelpful.

3

 
  
   
 
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 9 of 32

Vew~!l| to YE - To WE
eG ~ To te for RE?

fis Office Outlook weo Access Find Someone Address Book, — [el] Lb Aderess Book = FE) Options__ @® Leg Ot
/-

=, ae STE oo | =

Si —_ | ae. een eaten! DERE S Ae SASL Don
$3) ty ee... 4 * = vu Fetes eee -

 

_ Most Recent Reaprents

nse for Mr, Morales.

 

 

(SFS. maidrop) a
{SGA, students. all) i
ABRAMS, KATHERINE = : fs — . ce en roe . :
adrrissions@icsl. edu | a
ALVARADO, KATHERINE ; !

Apostle, Basil ! From: Galascia, Qui Qui

Balascio, Qui Qui Sant: Monday, October 24, 2011 2:25 FM

Baicom, Emily | To: MORALES, EDWARD / /
BALLOU, KATHERINE | Cc: (SAF. studert.affairs); Esonales, Ricardo; Dicon, Barbara; Banchi, Carrie
Bianchi, Carrie Subject: Response for Mr, Morales

 

 

     

: ‘en oe |

: a EK-SILLS, KATHERINE _ [Rave recetved your emad of complaint regarding you net being permitted to Use a telephone in Ms. Maung’s office on Tuesday,

fs BRESS, KATHERINE October 18, 2011. My understanding of the event is that Ms. Maung was meeting with three people in her office when you
Brian Booker emtered and derranded to use the phone.

: brian. booker@purchse. edu

BRIGANTI, KATHERINE Please be advised that nowhere in the ADA dees it specify that someone who states that they are disabled has the nght ta

kerbageyahoo.com nterrupt meetings and demand the use of a telephone, The ADA specifies that the college provide accommodations to
individuals who are registered through the Special Student Sarvices Offre. [tis also specific in terms of what types of

== | accommodations are required to be offered and to whom (i,e,, these who have followed apprapriate registration procedures

t

      
 

 

Bec and submitted al necessary docurnentation).
remthe Most | AS such, I will not be taking any action against Ms. Maung.

nis Ist, S@ert the

e the DELETE

| Sincerely,
| Qui Qui Balaseis
|

Qui Qui Balascio, UMSW, CEAP, SAP
' Asscuate Dean for Student Affairs
: Purchase College, SUNY
' Studerit Affairs - Student Services 320
: 735 Anderson Hil Road
| Purchase, NY 10577-1400
‘Phone: (914) 251-7988
: (914) 253-7996
ih Quigui. balascio@purchase. edu

  

 

 

i
t

| “These records ere protected by the Family Educational Rights and Privacy Act and are provided under an-exception ta the Act
found in Section 99.32. These records must be maintamed confidentially and may not be redsclosed, They must be destroyed
v when your kgitimate educational interest no lenger exists.”

9)

j
i
i
;
i

‘Frome MORALES, EDWARD
Monday, Cclober 24, 2011 1:47 PM
G: (SAF student. affairs)

   

 

| From. MORALES, EDWARD

i Sent: Monday, October 24, 2011 1:12 PM

: To: Espinales, Ricardo; Dixen, Barbara; Bianchi, Carrie
: Subject:

   

 

PS dare,

Tha oly request an investigation of, Again, a possible retaliation or abuse of power from the part of Purchase employee:

; Sancee Maung, Assistant Drector of reskience fe. on 10/18/2011 wes asked to assist a disable person in need of an
emergency phone cal, Miss Maung refused, which causes another violation of the American with Disability act from part of the

_ college staff.As consequence of Ms Maung I (the student and dient) advised Mrs Maung that a complaint was going to be file
Cher, As way of retaliation an abuse of power Mrs Santos has file the enclosed complaint. This later incident only add to
verwbalving proéf tat te cohege does not have or never had the intention of prov ding special confederation by beirg in
nee wath the Amerxan with dsabiity act. This will be added to all the other violations to the pending possible ltigation.

 

   
 

 

 

 

 

   

&% Connected to Microsoft Evehange

hitps://securemail purchase edu/owa/?aecitiem & isIPM.NoteBa=Open&s = Draftkid=RgAAAAAWWAADA.. YL
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 10 of 32

This school asks for documents and now to give them the documents you are asking for, you wont let me use
the phone. Then Melissa asked him, which office is asking you for documents. He then responded, Why do
you have an atittude? Why does everyone have an attitude. I then said, we just want to know which office is
requesting you to get these documents, because maybe they can allow you to use their phone. He said, NO, its
already almost 5pm. I need to get this done by 5:00pm. He then looked at me and said Are you in charge here?
I said no I am not in charge here. He said well who is in charge here? Then before J can answer he started
getting very upset and yelling and saying he demands to use the phone now and then he asked me for my
business card to which I then gave him, He said he is going to press charges and that everyone is so unhelpful
and is this how we treat students to now allow them to use the phone. Alejandro then said, how long is the
phone call for. Then Edward responded only a few minutes. J just need to get something (either faxed or to
receive- J am not sure which one he said). Then Alejandro said, just use my phone. Then Edward looked at me
and said you see? You see, even he so nice to let me use your phone. but you, you wont Jet me use the phone. |

am going to press charges, and he then left very angrily.

DISCLAIMER
[x] I understand that I may be required by the College to serve as a hearing witness and agrec to do so if

requested.
[x] I consent to the release and usc of this report and any information relating to it to any officer or agent of the

College.
[x] 1 understand that this report may be accessed by the students named in this report and/or any other

individual who is determined to be involved in this alleged incident.

SIGNATURE
sandee.maung Date: 10/19/2011

ATTACHED FILES

No file(s) | | | |
lore pore “ial Al, Si Art Mev

WW) (4 They bu Bol. Ms JOwe S ) x

ws £4) \ CLL . Sau bee
CLA REVEL

 

e :
VU &O

CMe UcES tleo WAME

/ a\lkKsGae OWES
Mauwe Awd Ms teksse 3

“tl ge we ce OE
Cle even &s\ As\ £ “Rt VY W#s
‘. \ Q Use 2 {OVE

VW ete |
Ur ek Yesdi hy

x (\ He UTS
Ae BERR) ROUT Ter ane Pee UC be

N

INCIDENT DESCRIPTION
On Tuesday, October 18, 2011 at approximately 4:55 pm, I was meeting with Sandee Maung and two

paraprofessionals when a student, now identified as Edward Morales, interrupted the meeting. He stated to the
group that he needed to use a phone to fax important documents prior to 5 pm and did not have a cell phone. I
looked at Sandee and we both agreed that UPD would be the best place for him to have access to a phone and
relayed this information to Edward. He looked at Sandee and I and said, "No. I already came from there. They
sent me here." He continued to say how he has been sent all over the campus and just needed a phone. Sandee
explained that we needed more information and asked him who he needed to call. He avoided answering this
question and said with a firm and slightly paniced voice that he needed a phone to call for documentation
requested by the school. Sandee and I told him we understood but that we needed more information. Then
Sandee or I asked who needed the documentation and that they should allow him to use their phone. He started
to become irrate and continued raising his voice about how unhelpful this campus is and how everyone is
angry. Sandee then explained that we were trying to help but could not just allow him to use our phones and
that he should go back to the department that sent him. At that point, one of the paraprofessionals asked how
long his call would be and Edward stated 2 mintues and that he just needed to fax something. The student then
offered to let him use his cell phone. At that point, Edward gestured toward the student and said, "See such a
nice young man willing to help." He then looked at Sandee and said, "Will you let me use your phone? Yes or
no." Again, his tone was assertive, irritable, and slightly aggressive. Sandee looked at him and said, "No, we
cannot just Jet you use our phones, you need to go back to the department requesting the material." At that
point, Edward requested Sandce's card and told her he was filing a complaint across the street. He left without

using the student's cell phone.

While J cannot recall every aspect of the conversation, I do know that as Sandee and I asked questions of
Edward to better understand the situation, he became more and more visibly iritated and frustrated. His tone
also continued to escalate and create an uncomfortable and uncertain situation, since I could not fully

understand what assistance he needed and for what purpose.

DISCLAIMER
[x] I understand that I may be required by the College to serve as a hearing witness and agree to do so if

requested.
[x] I consent to the release and use of this report and any information relating to it to any officer or agent of the

College. °
[x] I understand that this report may be accessed by the students named in this report and/or any other

individual who is determined to be involved in this alleged incident.

SIGNATURE
melissa.jones Date: 10/19/2011

ATTACHED FILES
No file(s)

= . € = ~~ a oo
~ Purchase College
STAY IVERSITY OF NEW YORK
Office of the Vice President for Student Affairs
as - -

ACADEMIC INTEGRITY. NOTIFICATION FORM

Name of Student: Bd WARD Mo RALES
Mailing Address:

| have detected wha may be a violation of Purchase

MAL purchase. edu/Policles/academiciniegrily.aspx)
pp } ; ° 2

Name of Instructor: MARC SRI N SE Date: WT 3 20(/

Campus Emall: Mare.b rudang ce C dyschat fy, —X%OS6f

Campus Office: Building fu eae adtie Room Numier_ Zof? *-_

Course Number & Title: . SKA SAG. : Ct Ail Abn Wovies los “Sf facull t

   
 

c.

 

College’s Academic Integrity Policy (available at

 

 

Description of Alleged Violation (attach additional pages, If needed, arid coples of:documentation):

| Phe ay fie atkdut.

I have scheduled an Initial Conference to discuss the alleged violation with you In my office, listed
‘above, on: 7 t- “Tt OE Nope
(day and sae. "f - 20 f (Teka [ ) at (tlie) eS

If you have a confiict and-need to reschedule, you must call or email me immediately. Be sure to laave
& message if! am not available, ”

 

If you fail to appear at the time and place stated above Or io make alternate arrangements, the above
description of the alleged violation Will be considered {true and accurate, and you will waive your right
fo a hearing before the Academic Integrily Committee. For further information, Please contact me or
consult the Purchase College Acadeinic and Professional Integrity Policy available at
sMeveblrehase.ccuuP oliciessacademicintegrily asp ,

cc: Instructor
Student
Rich Nassisl, AIC Chair 6/09
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 13 of 32

It looks like Edward Morales plagiarized:large parts'of his translation of a poem by José
Luis Borges for assignment 2,1 In SPA3800; More precisely, It looks like he used the
translation by Ezequiel Zaidenwerg published on the blog whose URL Is the following as
the basis for his translation, changing only a few.words:

http://spanishpoems, blogspot.com/2006/12/Jorge-luis-borges-two-english-poems.htmi

Following my explanation below, please fi id attached: 2A

“The original poem by Borges as distributed to the class .
-a copy of Zaldenwerg’s translation as It appears on the blog whose URL Is given above

-Edward's submitted transtation

There are three main kinds of evidence to support my contention of plagiarism:

1.

Edward included, as part of his translation, paratextual materjal from the blog that is :
not part of the assigned poem. The translation on the blog has the line:

“Etiquetas: J. L. Borges”
This means "Tags: J. L. Borges" ~ "tags" Is a word that would only be used on a blog. It

makes no sense In English or In Spanish uifless you're talking about a blog. Edward
‘includes the phrase in Spanish as part of the translated poem that he submitted for the
class. This makes no sense unless he simply cut and pasted it from the blog, where it .
appears exactly that way because the rest of the blog is In Spanish.

2.

In the text itself, Edward uses many surprising turns of phrase that are the same turns of

. Phrase used by Ezequiel Zaldenwerg, Two examples:
a.

Borges's original: . .
The surge, that night, left me the customary shreds and odd ends: some hated friends to

chat with, music for dreams, and the smoking of bitter ashes ~ .

Zaidenwerg's translation:
la marea, esa noche, me dejé fos Jirones y retazos disjuntos de costumbre: algunas
amistades que odio, para charlar; musica para suefios; la humareda de cenizas amorgos.

Edward's translation:
La marea, esa noche, me dejé los jirones y retazos disfuntos como costumbre:
2
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 14 of 3

> algunas amistodes odiosas, para charlar; mdsiéq para suefios;
: la humaredo de cenizas amargas. ‘

N.B.: : :

.:The replacement of "and" with-a semicolon before'“la humareda” ps
“The translation of "friends to chat with" as “amlstades {comima] para charlar" (the

comma Is what necessitates the semicolon)

b,

* - Borges’s oripinal: aye Fe
The useless dawn finds me in a deserted streetcorner; | havé outlived the alght.
Nights are proud waves; darkblue topheavy waves

¥

Zaldenwerg’s translation: * coe,
El alba Inutil me sorprende en una-esquina desierta; sobrevivi a la noche.
Las noches son camo ofas orgullosos; olas azul oscura, de pesadas crestas,

Edwards translation: 4
E] alba inutil me Sorprende en una esquina deéslerta; sobrevivi a la noche. ;
as noches son como olas orgullosas; olas de azuf oscuro, de'pesadas crestas,

N.B.

-The translation of “finds” as “sorprende”
-The change of the night/waves metaphor toasimlile «
~The translation of “topheavy waves” as.“olas [...] de pesadas crestas”

3.

Some words have bean changed between Zaldenwerg’s Published translation and
Edward's submitted translation. But the rest of the sentence syntax was not‘changed In
response to the changed word, One example: - “ BOG ,

Borges’s original:

of things half given away, half withheld
Zaidenwerg’s translation: ;
de cosas que se dan Por fa mitad y a medias S@ retienen

Edward’s.translation:
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 15 of 32

de cosas dadas por la mitad y por la mitad se retlenen

N.B.

Edward seems to have changed the verbal phrase “que se dan” used by Zaldenwerg to
the participial adjective “dadas,” but leaving the other verb ih the parallel structure In its
verb form (“se retienen” instead of the participial adjective “retenidas”). The sentence
resulting from this partial change does not make sense In the way that the original
makes $énse or Zaidenwerg’s translation makes sense; It reads like a word was changed
without thought to the rest of the sentence.

s
:
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 16 of 32
Page 1 of 2

Mi ake
Piirchase Coll&§e
STATE UNIVERSITY OF NEW YORK

Office of the Vice President for Student Affairs

   

Purchase College

State University of New York
735 Anderson Hill Road
Purchase, NY 10577-1400

Phone (914) 251-6030
Student Affairs Incident Report

Incident Number: 1132 Report Number: 1132

INCIDENT TYPE
Other

INCIDENT TOOK PLACE
Date: 6/19/2012 Time: 10:36 PM
Location: Other, Via Email

REPORT
io CD: aa

Date Submitted: 6/20/2012 Position: Staff Filed By: Maryalice Balasci
Building: Student Services Room: 320 Work Phone (914)251-7988

PERSONS ALLEDGLY INVOLVED
‘NS cell Phone

 

Naine: Edward Morales CID: SS Building: EE «~Room
Pere]

WITNESS TO INCIDENT
Name: Emily Baleom CID: 0 Building:Student Services Room:3rd floor Work Phone

9142516320
Name: Jonn Delate CID: 0 Building:Student Services Room:3rd floor Work Phone 9142516320

Name: Tori Galatro CID:

Name: Melissa Jones CID: 0 Building:Student Services Room:3rd floor Work Phone 9142516033

Name: Angela Kang CID: 0 Building:The Olde Room:J21 Work Phone 9142513170

Name: Denny Santos CID: 0 Building:Big Haus Room:A18 Work Phone 9142517040

https://paws.purchase.edu/Campus Wide/IncidentReport/Createlncident.aspx 6/21/2012
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 17 of 32
Page 2 of 2

POLICE REPORT INFO
[x] No police report

INCIDENT DESCRIPTION
On Tuesday, June 19, 2012, 1 was sent an email from Edward Morales regarding his no contact order

with Tori Galatro. Mr. Morales also sent that email to Tori Galatro, which is a violation of his no
contact order.

DISCLAIMER
[x] I understand that ] may be required by the College to serve as a hearing witness and agree to do so if

requested,
[x] 1 consent to the release and use of this report and any information relating to it to any officer or agent

of the College.
{x] I understand that this report may be accessed by the students named in this report and/or any other

individual who is determined to be involved in this alleged incident.

SIGNATURE
quiqui.balascio Date: 6/20/2012

ATTACHED FILES
File Creation Date: 6/20/2012 11:12:08 AM File Created By: quiqui.balascio

File Description: Edward Morales Email p. 1
File Creation Date: 6/20/2012 11:12:16 AM File Created By: quiqui.balascio

File Description: Edward Morales Email p, 2
File Creation Date: 6/20/2012 11:12:22 AM File Created By: quiqui.balascio

File Description: Edward Morales Email p. 3

https://paws. purchase.edu/Campus Wide/IncidentReport/CreateIncident.aspx 6/21/2012
,

Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 18 of 32
Page 1 of 2

si ok @
ol Coll@§e

STATE UNIVERSITY OF NEW YORK

Office of the Vice President for Student Affairs

Purchase College

State University of New York
735 Anderson Hill Road
Purchase, NY 10577-1400

Phone (914) 251-6030
Student Affairs Incident Report
Incident Number: 1749 Report Number: 1749

INCIDENT TYPE
Inappropriate Conduct, Vandalism

INCIDENT TOOK PLACE
Date: 2/6/2013 Time: 07:00 PM
Location: The Commons,k1-2

REPORT
Date Submitted: 2/7/2013 Position: Student Filed Be Christopher Derosa CID:

Building: 7 | Room{§j Cell Phone

PERSONS ALLEDGLY INVOLVED

Name: Eduardo Morales CID: 0 Building: Room: Sj Cell Phone

 

WITNESS TO INCIDENT
Name: Dan Costello CiD:; >

| Building: Room: Cell Phone

   

POLICE REPORT INFO
[x] No police report

INCIDENT DESCRIPTION
On 2;6/15 | got home from work to find a 53 year old man on my couch. Without notification Eduardo

and my old roommate Einstein Correa swapped rooms. Without my consent Eduardo rearranged the
apartment and moved my property. My computer while still operating and plugged in was lifted 4 feet or
more and put on top of the desk. The computer now does not work properly. This man has said he wants
to take a screen out of the window and leave a window unlocked at all times in case he forgets his key,
he can climb in the window. | am not approving of ANY of this and the other roommate, Dan Costello is

not approving of this either.

https://paws.purchase.edu/Campus Wide/IncidentReport/CreateIncident.aspx 2/8/2013
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 19 of 32
Page 2 of 2

DISCLAIMER
[x] I understand that I may be required by the College to serve as a hearing witness and agree to do so if

requested,
[x] I consent to the release and use of this report and any information relating to it to any officer or agent

of the College.
(x] I understand that this report may be accessed by the students named in this report and/or any other

individual who is determined to be involved in this alleged incident.

SIGNATURE
christopher.derosa Date: 2/7/2013

ATTACHED FILES
No file(s)

https://paws.purchase.edu/Campus Wide/IncidentReport/CreateIncident.aspx 2/8/2013
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 20 of 32

STATE UNIVERSITY POLICE PURCHASE NEW YORK

Event Report

 

Event No.:

Event Disposition:
Desk Officer:

Desk Officer Serial No.:
Received Via:

Priority:

Received Date:

Start Time: 04:04 PM
Business Name:
Address:
City/Town/Village:
Map:

Latitude:

ISF;

Precinct:

Coverage Area:

 

Common Place Name:

 

 

Basic Info
SPU-EV-590-13 Event Date:
CLOSED VIA CAD Created By:
HERNANDEZ, ALBERTO, E Desk Officer Rank:

Desk Officer Shield No.:

COMPUTER Event Type:
HIGH PRIORITY (ls Juvenile
02/09/2013 03:58 PM Dispatch Date:
End Time: 04:18PM Total Time:
Location

02/09/2013 03:58 PM
HERNANDEZ, ALBERTO
DISP

304

ALARM-FIRE

02/09/2013 03:59 PM
0:14

PHASE 2 APARTMENTS 735 ANDERSON HILL ROAD PURCHASE, NY 10577

TOWN Nearest Cross Street:
Grid:

Longltude:

Sector:

Post:

Jurisdiction:

Between:

Last Rank:

Shield No.:

ON CAMPUS HOUSING

And:

  
   
 
 

Ce ee

 

 

 

Unit Name: POST 3 Backup Description: MOBILE PATROL

Unit Type: MARKED CAR Department/Agency Name: SUNY PURCHASE POLICE
Unit History

Unit Status: Dispatch Status Date/Time: 2/9/2013 16:02:28

Lecation: Post: POST 3

Equipment Comment:

Unit Status: Enroute Status Date/Time: 2/9/2013 16:02:38

Location: Post: POST 3

Equipment: Comment:

 

 

Printed On: 2/10/2013 15:40:43

SPU-EV-590-13

UU EIQ VO RUAN} OT

Page 1 of 3
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 21 of 32

 

Unit Status: Arrive Status Date/Time: 2/9/2013 16:04:28
Location: PHASE 2 APARTMENTS Post: POST 3
Equipment: Comment:

Unit Status: Cleared Status Date/Time: 2/9/2013 16:18:26
Location: Post: POST 3
Equipment: Comment:

  

 

 

  
 

 

apes eee

 

 

 

 

  
  
  
   
 

Basic Info
Name: EDWARD R MORALES Role: PERSON INTERVIEWED
Gender. M MALE Date of Birth: Bey

Features
Height: Eye Color:

Address
Type. Home Description:
Address: [ae Bee |
Type. Home Description:
Address;

Phone Number

Type: Description:

Phone Number:
Type:
Phone Number:

 
 
   

 
 

I in

AHERNANDEZ 2/

ON 2/9/13 AT 1558 HRS HEAD. 7°75 RECEIVED A FIRE ALARM IN PHASE 2 K-1-2 HALLWAY. OFFICER DAVIS DISPATCHED TO THE

SCENE, OFFICER DAVIS REPORTS ALARM CAUSED BY SMOKE FROM COOKING. ALARM RESET AT 1615 HRS. ALL CLEAR AT 1615 HRS.

SERRE IORIIEIIO EI IORIUO IIIS IIOIOI I dO HOI Ing #Un RoR tak toi

IJDAVIS 2/9/2013 16:35:36

ON 2/9/13 AT 1559 HRS, THE WRITER WAS DISPATCHED TO K-1-2 FOR A FIRE ALARM. THE WRITER APPROACHED THE K APARTMENT
BUILDING AND MET WITH STUDENTS WHO WERE RESIDENTS OF THE BUILDINGS, THE STUDENTS STATED THAT THE RESIDENT OF K-1

-2 HAD BURNT BREAD BUT HE WAS STILL I HIS APARTMENT,

THE WRITER KNOCKED ON THE DOOR FOR K-1-2. THE RESIDENT OF THE APARTMENT OPENED THE DOOR SLIGHTLY AND STUCK HIS
HEAD IN THE CRACK OF THE DOOR. THE RESIDENT STATED HE HAD BURNT SOME BREAD, AND ASKED IF THE WRITER COULD TURN
THE ALARM OFF, THEN WALKED AWAY FROM THE DOOR, ALMOST PUSHING IT CLOSED WHILE WALKING AWAY. THE WRITER ASKED
TO COME IN TWICE, WHEN THE RESIDENT FINALLY LET THE WRITER IN. THE WRITER FOLLOWED THE RESIDENT, “IDENTIFIED AS
EDWARD MORALES" TO THE KITCHEN WHERE HE STATED HE HAD BURNT BREAD. MORALES THEN REACHED INTO HIS GARBAGE CAN
SHOWING THE WRITER A PIECE OF BURNT BREAD. THE WRITER NOTICED THAT THE FAUCET WAS RUNNING, CAUSING STEAM TO
RISE TO THE CHILING. THE V2) (TER ASKED MORALES IF HE COULD TURN THE FAUCET OFF SO THAT IT DOESN'T TRIGGER THE ALARM

renews on norms rsose — seucev-soo-e [THIEN AN MNLY WIMILII|—7-2222*2

 

 
 

Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 22 of 32

AGAIN, BUT MORALES REFUSED STATING THAT "THAT WOULDN'T TRIGGER CARBON MONOXIDE". THE WRITER CALLED HQ,
REQUESTING A SILENCE AND RESET FOR THE ALARM, THE WRITER THEN WAITED ABOUT 2 MINUETS FOR A RESET. THE ALARM HAD
NOT YET BEEN SILENCED OR RESET, SO THE WRITER CONTACTED HQ TO ASK WHAT THE SITUATION WAS. HQ STATED THAT THERE
WAS ANOTHER ALARM IN THE AREA GOING OFF, AND THAT IT COULDN'T BE SILENCED UNTIL THE OTHER ALARM WAS CHECKED

OUT,

WHILE WAITING, THE WRITER THEN ATTEMPTED TO COLLECT THE PEDIGREE FROM MORALES. MORALES HANDED THE WRITER HIS
MORE CARD, TO WHICH THE WRITER ASKED MORALES IF HE HAD HIS DRIVERS LICENSE. MORALES STATED THAT HE DIDN'T HAVE
HIS LICENSE WITH HIM, THE WRITER ASKED MORALES WHAT HIS ADDRESS WAS, TO WHICH MORALES RESPONSE, “HERE, AT
PURCHASE". THE WRITER ASKED MORALES WHAT HIS OFF CAMPUS ADDRESS WAS, MORALES STATED THAT HE LIVED HERE. THE
WRITER ASKED IF MORALES POSSIBLY HAD AN OUT OF STATE LICENSE, TO WHICH MORALES STATED, "ITS NOT HERE.” THE WRITER
ASKED MORALES WHERE HIS LICENSE WAS, TO WHICH MORALES STATED “IT DOESN'T MATTER, YOU DON'T NEED IT." AT THIS
POINT, MORALES BEGAN TO RAISE HIS VOICE, SHOUTING AT THE WRITER, TELLING THE WRITER "I AM ALREADY SUING YOUR
DEPARTMENT, ILL HAVE YOUR JOB AND GET YOU FIRED." AT THIS POINT, MORALES TOLD THE WRITER TO GET OUT. THE ALARM HAD
NOT BEEN SILENCED IN THE AREA, AND DUE TO PROTOCOL, THE WRITER WAS NOT ALLOWED TO LEAVE UNTIL THE ALARM WAS
SILENCED AND RESET. THE WRITER ADVISED MORALES THAT HE WAS NOT ABLE TO LEAVE YET, AS THE FIRE ALARM HAD NOT YET
BEEN SILENCED, MORALES HELD THE DOOR OPEN, TELLING THE WRITER "YOU BETTER LEAVE NOW OR ILL GET YOU FIRED!” THE
WRITER AGAIN TOLD MORALES THAT HE WAS NOT LEAVING, AS STATED BY PROTOCOL, UNTIL THE FIRE ALARM WAS RESET.
MORALES GOT WITHIN A FEW INCHES OF THE WRITER, FACE TO FACE, WITH HIS HANDS IN FRONT OF HIM, BECOMING VERY
DISGRUNTLED, THE WRITER ADVISED MORALES THAT IF GOT ANY CLOSER OR PUT HIS HANDS ON THE WRITER, THAT THE WRITER
WOULD HAVE TO PLACE MORALES UNDER ARREST. MORALES THEN REQUESTED TO SPEAK WITH THE WRITERS SGT. THE WRITER
LAND-LINED HQ AND REQUESTED TO SPEAK WITH LT. JONES. THE WRITER EXPLAINED THE SITUATION TO LT. JONES, AND WAS
ADVISED TO LEAVE THE AREA. THE WRITER TOLD MORALES THAT THE WRITER WOULD BE LEAVING, HOWEVER THE ALARM WOULD
STILL BE GOING OFF, MORALES TOLD THE WRITER "ITS OK, YOUR NEW HERE, THEY KNOW ME AT YOUR DEPARTMENT." THE WRITER
THEN ASKED HQ IF IT WAS SAFE TO LET THE OTHER RESIDENTS OF THE K APARTMENTS TO ENTER THEIR BUILDINGS. HQ STATED
THAT IT WAS INDEED OK FOR THE STUDENTS TO RE-ENTER. THE WRITER LEFT THE K APARTMENT BUILDING, WITH THE FIRE ALARM

STILL ACTIVE. SCENE CLEARED AT 1615 HRS.

LT JONES, DARRYL Shield/Serlal No.: 2604 / Date: 2/10/2013 15:40:30

Approved By.

 

rime on:zronors sacae — souev-ssos> fli LN AMMAN MINT mse
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 23 of 32

= ee
Piitchase Coll@e

STATE UNIVERSITY OF NEW YORK

Office of the Vice President for Student Affairs

Purchase College

State University of New York
735 Anderson Hill Road
Purchase, NY 10577-1400

Phone (914) 251-6030
Student Affairs Incident Report

Incident Number: 2090 Report Number: 2090

INCIDENT TYPE
Verbal/physical abuse

INCIDENT TOOK PLACE
Date: 4/3/2013 Time: 08:50 AM
Location: The Hub,Parking & Transportation Rm 1014

REPORT .
Date Submitted: 4/3/2013 Position: Staff Filed By: Donna Salter CID:}

Room fj Work Phone
PERSONS ALLEDGLY INVOLVED

Name: Edward Morales CID: 0

 

Name: Kyle Saud CID: fj Building}.

 

Work Phone

 

POLICE REPORT INFO
Police Report#:
Name of the officer: Po Roberto Caban

Edward Morales came in to the Parking Office this morniny at approximately 8:50 a.m. and demanded thal the 8:50
a.m, loop stop at Starbucks because he is disabled. I tricd to explain that it was an express bus and (hat there are
students coming from the WP twain station who need to pet to classes on time, but he wouldn’t let me finish my
conversation. He told me that cffective immediately he would make the bus stop from now on. He demanded the
telephone auniber of J&R Tours Qwhich [ supplied) and wanted my business card (also supplied). Mr. Morales
secused mi of being unprofessional and diseourteous and that he was going to report me for my behavior, He
proceeded to cet very loud and disruptive creating a hostile environment in the Parking & ‘Transportation Office, Once
he began to eet verbally abusive | éallicd UPD 10 ask for assistance, Mr. Morales heard me on the telephone with the
Police and bedeil the Parking and Pronsportation office before UPD arrived. He told me that { could send the police
to Starbucks if they want to speak to him. Officers Roberto Caban and James McGowan responded and went up the

e:.(C/Users/MEL|SS~1.JON/AppData/Local/Tensp/ieport-} html [4/3/2013 11:46:11 AM]
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 24 of 32

hall in Campus Center North to speak with Mr. Morales. Kyle Saud (PCA Staff member) and Justin Andrews (student
worker) were witness to this gentleman’s irate behavior.

i{x] I understand that I may be required by the College to serve as a hearing witness and agree to do so if requested.
ix] I consent to the release and use of this report and any information relating to it to any officer or agent of the

' College.
[x] I understand that this report may be accessed by the students named in this report and/or any other individual who

is determined to be involved in this alleged incident.

SIGNATURE
donna.salter Date: 4/3/2013

ATTACHED FILES
File Creation Date: 4/3/2013 11:08:32 AM File Created By: quiqui.balascio
File Description: UPD #1559-13

ile:///C\/Users/MELISS~1.JON/AppData/Local/Temp/Report-1 html[4/3/2013 11:46:11 AM]
it

i Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 25 of 32

fl
)

BS a’ oh @
Pilfchase Coll&e

STATE UNIVERSITY OF NEW YORK

Office of the Vice President for Student Affairs

a

i
}
|

> Re

Purchase College

State University of New York
735 Anderson Hill Road
Purchase, NY 10577-1400:

Phone (914) 251-6030
Student Affairs Incident Report

Incident Number: 2090 Report Number: 2091

INCIDENT TYPE
Verbal/physical abuse

INCIDENT TOOK PLACE
Date: 4/3/2013 Time: 08:45 AM

Location: Campus Center North,Parking and Transportation Office

REPORT
Date Submitted: 4/3/2013 Position: Staff Filed By: Kyle Saud CID:
Room: i Work Phone

 

t . ¢ 4

Name: Edward Morales CID:

WITNESS TO INCIDENT.

 

Name: Jusin Andrews CID: |) 4
Work Phone

 

POLICE REPORT INFO
Police Report#:

Name of the officer: Caban
Police Report#:

Name of the officer: Mcgowan

INCIDENT DESCRIPTION

Atapproximately $-15AM 04/03/2013, | entered the Parking and ‘Transportation Office ta say hello to Denn Salter.

When { enter the roam, Psaw Justin Andrews, Donna Salter, and Edward Morales. Morales was expressing wilh his
frustration with (he fact that the express Purchase Loop bus does not stop at Starbucks and was demanding that

schedule be changed. Salter explained that at this point in the semester it would be impossible to alter the bus schedule

as it would throw off the entire schedule and suggested that Morales place his request in writing. Morales became more

Hle:f//C\/Users/MELISS~1.JON/AppData/Loval/Temp/Report.htm! [4/3/2013 11:45:26 AM]
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 26 of 32

ted stating that the bus schedule will be changed tomorrow because he is disabled. He began raising his voice in

frustra
frustration. At that point Salter called UPD, Morales then collected Salter's card and said he was going to Starbucks.

Caban and McGowan arrived after | had left the scene.

» [x] ] understand that I may be required by the College to serve as a hearing witness and agree to do so if requested.
~ [x] J consent to the release and use of this report and any information relating to it to any officer or agent of the

College.
[x] I understand that this report may be accessed by the students named in this report and/or any other individual who

is determined to be involved in this alleged incident.
SIGNATURE
kyle.saud Date: 4/3/2013

ATTACHED FILES
No file(s)

ite:///C\/Users/MEL]SS~!.JON/A ppData/Local/Temp/Report. htm [4/3/2013 11:45:26 AM]
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 27 of 32

STATE UNIVERSITY POLICE PURCHASE NEW YORK

Event Report

 

Event No.:

Event Disposition:
Desk Officer:

Desk Officer Serial No.:
Received Via:

Priority:

Received Date:

Start Time: 09:03 AM

Business Name:
Address:
City/Town/Village:
Map:

Latitude:

ISF:

Precinct:
Coverage Area:

Commo

 

betes

   

Name:

 

Serial No.:

n Place Name:

SPU-EV-1559-13
CLOSED VIA CAD
ANDUJAR, MERCEDES

LAND LINE
MEDIUM PRIORITY
04/03/2013 08:57 AM

End Time: 09:07 AM

oneuien

Basic info
Event Date: 04/03/2013 08:57 AM
Created By: ANDUJAR, MERCEDES
Desk Officer Rank: DISP
Desk Officer Shield No.: 301
Event Type: SUSPICIOUS INCIDENT
Cs Juvenile

Dispatch Date: 04/03/2013 08:57 AM

Total Time: 0:04

Location

CAMPUS CENTER NORTH 735 ANDERSON HILL ROAD PURCHASE, NY 10577

 

Nearest Cross Street:

Grid:

Longitude:

Sector. ON CAMPUS HOUSING
Post:

Jurisdiction:

Between: And

   
 
  
  
  

Last Rank: PO
Shield No.: 42

 

Unit Name:

Unit Tyoe!

Unit Status:

 

Printed On: 4/3/2013 10:36:04

PERSON

Dispatch

~ SPU-EV-1559-13

Description: FOOT PATROL

Department/Agency Name: SUNY PURCHASE POLICE

Unit History
Status Date/Time:

UV URAL UML ANOQUEU TIN OUT ALT ATPase oF

4/3/2013 8:57:28
Case 7:13-cv-02586-NSR

Document 37-12 Filed 04/17/14 Page 28 of 32

 

 

 

Location: Post: POST 1
Equipment: 7K063/S1/P1/R1 Comment:

Unit Status: Enroute Status Date/Time: 4/3/2013 8:57:32
Location: Post: POST 1
Equipment: 7K063/S1/P1/R1 Comment:

Unit Status: Arrive Status Date/Time: 4/3/2013 9:02:07
Location: Post: POST 1
Equipment: 7K063/S1/P1/R1 Comment:

Unit Status: Cleared Status Date/Time: 4/3/2013 9:07:49
Location: Post: POST 1
Equipment: 7K063/S1/P1/R1 Comment:

 

 
 

MOBILE PATROL

 

 

Unit Name: POST 2 Description:
Unit Type: MARKED CAR Department/Agency Name: SUNY PURCHASE POLICE
Unit History

Unit Status: Dispatch Status Date/Time: 4/3/2013 9:03:21
Locatici: Post: POST 2
Equipment: 7K066 $2/R2/P2 Comment:
Unit Status: Arrive Status Date/Time: 4/3/2013 9:03:30
Location: Post: POST 2
Equipment: 7K066 S2/R2/P2 Comment:
Unit Status: Cleared Status Date/Time: 4/3/2013 9:07:50
Location: Post: POST 2

7K066 $2/R2/P2 Comment:

Equipment:

 

 

Unit Narva: POST 3

Unit Tyze: MARKED CAR

Description:

MOBILE PATROL

Department/Agency Name; SUNY PURCHASE POLICE

Unit History

 

Name: DONNA SALTER
Gende- F FEMALE
Heigh::

Printea On: 4/3/2013 10:36:04

Basic Info

Role:
Date of Birth:
Features

Eye Color.

PERSON REPORTING

 

SPU-EV-1559-13

UL UAL VO UIE WIP AMMUTTIE ATTN HHT ®29¢2 oF
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 29 of 32

 

 

 

Address

Type: Home Description:
Address:

Phone Number
Type: Business Description:
Phone Number: rae
Type: Business Description:
Phone Number. ae)
Type: Home Description:

Phone Number;
TETAS ES

   

eee lari

  
 

 

 

 

 

 

Basic Info
Name: EDWARD R MORALES Role: PERSON INTERVIEWED
Gender: M MALE Date of Birth: naz

Features
Height: Eye Color:

Address
Type: Home Description:
Address:
Type: Description:
Address:

Phone Number

Type: Home Description:
Phone Number: eae)
Type: CELL Description:

 
  

Phone Number:

  

4

MANDUJAR 4/3/2013 09:00:19

ON 04/03/13 AT 0857 HOURS, DONNA SALTER (PARKING STAFF) CALLED HQ TO REQUEST AN OFFICER AT THE CCN PARKING OFFICE
FOR AN IRATE PERSON. PO MCGOWAN WAS DISPATCHED. PO CABAN RESPONDED TO ASSIST, NO CAMERAS IN SAID LOCATION.

REPORT TO FOLLOW. SCENE CLEARED AT 0906 HOURS.
SOSRHEEETEEEERESHKHKEE EES) EELS ECRUKERAREKERHSRESKREREROSE

IMCGOW AN 4/3/2013 09:32:04

ON 4/3/13 AT 0857 HRS WRITER PO MCGOWAN WAS DISPATCHED TO A CALL OF AN IRATE PERSON IN THE PARKING OFFICE, WHILE
IN ROUTE TO THE PARKING OFFICE IN CAMPUS CENTER NORTH THIS WRITER HEARD A MAN LATTER IDENTIFIED AS STUDENT
EDWARD MORALES SAY "YOU ARE PROBABLY LOOKING FOR ME.” THIS WRITER INTERVIEWED MORALES WHO STATED THAT HE WAS
IN PARKING COMPLAINING ABOUT THE BUS SERVICE. MORALES STATED THAT HE WAS DROPPED OFF AT THE CAMPUS CENTER
NORTH BUS STOP BUT ASKED THE SUS DRIVER TO DROP HIM OFF AT THE CAMPUS CENTER SOUTH BUS STOP AND THE DRIVER

ries ovapnonsesces ——srvevasseso TAIN MMM AMABE NME P22
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 30 of 32

REFUSED. MORALES STATED THAT HE HAS A BAD BACK AND IT IS HARD FOR HIM TO WALK FROM NORTH TO FORT AWESOME
WHERE HE HAS CLASS, THIS WRITER OBTAINED MORALES IDENTIFICATION INFORMATION AND THEN LET HIM GO TO CLASS.

THIS WRITER THEN INTERVIEWED THE DIRECTOR OF PARKING AND TRANSPORTATION DONNA SALTER WHO STATED THAT
MORALES CAME INTO THE PARKING OFFICE YELLING ABOUT THE BUS SERVICE TO CAMPUS. SALTER STATED THAT SHE EXPLAINED
TO MORALES THAT THE BUS THAT HE WAS ON IS AN EXPRESS BUS AND IT GOES STRAIGHT FROM WHITE PLAINS TO CAMPUS
CENTER NORTH AND BACK TO WHITE PLAINS. SALTER STATED THAT MORALES TOOK THE BUS SCHEDULE AND SAID HE WAS HE
WAS GOING TO CALL THE BUS COMPANY AND HAVE THEM CHANGE THE SCHEDULE. SALTER STATED THAT MORALES THEN LEFT

TO GO TO CLASS, NO CAMERAS IN THE AREA TIME CLEAR 0907 HRS.

LT BUTLER, WALTER Shleld/Serial No.: 2606 / 4/3/2013 10:35:40

Approved By: Date: wee

 

sev-evsseo3 OUP AIIM IIH ATEN IM se

Printed On: 4/3/2013 10:36:04
Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 31 of 32

Purchase College
Campus Judicial Referral Form

 

 

Time: 9:05PM

 

 

 

 

 

 

 

 

INCIDENT Date: 07/10/13
TOOK PLACE
Location: Music Building
REPORT Submitted To: Campus Judicial Officer | Date Submitted: 08/15/2073
Filed By Officer Name: Inv. Mobley University Police Report #: EV-3111-13
FAX INFO FAX TO CAMPUS JUDICIAL AT 7996 AND MICHAEL BAILEY AT 5926,
Report Faxed: DATE: TIME:
Report unable to be faxed due to machine malfunction: LEAVE MESSAGE AT X7988 AND X6906 TO
INFORM THAT REPORT NEEDS TO BE PICKED UP - _
STUDENTS NAME {OENTIFICATION NUMBER CAMPUS/ADORESS / PHONE
ALLEGEDLY

 

7 | Morales, Edward, R.

 

WiTNE

To

INCIDE

BE SURE TO

INCLUDE ANY
STUDENT AFFAIRS

STAFF PRESENT

 

 

 

 

 

 

 

CAMPU ADDR S

 

 

‘Danielle D'Ago _, s aff member

 

 

 

 

 

 

 

 

TYPE OF INCIDENT
CHECK ALL THAT
APPLY

Emergency Room/Mental Hygiene ___ Verbal/Physical Abuse
_._Harassment __ Noise Theft Vandalism
Weapons Cannabis Drug Paraphernalia

___ Inappropriate Conduct .
Alcohol Violation Controlled Substance

Sexual Misconduct/Assault Fire Satuty Other

 

INCIDENT
DESCRIPTION

Mr. Morales is a subject in a pendiny criminal complaint for Agaravated Harassment, (class A
misdemeanor offense of the New York State Penal Law), resulting from an email sent by Mr. Morales to

a SUNY Purchase College faculty-staff member (Identity protected), in which this electronic form of
communication caused this faculty-staff member to be annoyed, threaten, and alarmed, There is an active _
order of protection in place. issued by the Town of Harrison Criminal Court, as well as an active

Persona Non Grata (PNG) letter in place, issued by SUNY Purchase College State University of New York,

tinfentAt ans Ov fice

 

Specifically, Morales stated the following via an e-mail directed at staff member Danielle D’ Agosto:
 

Case 7:13-cv-02586-NSR Document 37-12 Filed 04/17/14 Page 32 of 32

 

3- DD the following is a strong constructive criticism that normally can be said at any company or institution... There
is no doubt that you are a great person and a woman. When you say that you never done anything in your career (what
ever that is), yes but you have done plenty of others that should have not done. Experience is what you need Danielle.
I had seen how soft with employees and how they controlled you. Furthermore, how intertwined you are with your
peer workers and staff. It's hard to believe that you have some authority in the school. | always had a tremendous
regard for you, [ do not think you have what is needed for that position you are holding, and you are damaging the
school and the students with it. I have five times the life experience that you in many fields than you, and you have no
initiative to take strong decision that can make a difference. Your poor judgment has caused a lot of suffering not only
on me but on other students, Furthermore, you are too mature (nol to say, you too old) to suffer from peer pressure.
You are not an independent creative person, and that is a must lead others. You value your coworkers before you job
and worst, your students; analogy...it is like a nurse not taking care of her patient but giving a ride to a co-worker
when shie is on duty. You failed with my Law and ethic class, just to keep your status with the professor; so was with
Naanim (gay gender discrimination) me. You failed to notify SUNY and the Dept. Of Education when you suspected
abuse oFone of your students and then you hide behind a legal shield that will disappear at any minide just to caver
your WOC acuous, There are students that have worked for you that have made derogatory statements veninst your
department, and all other departments of the school for that matter different students have done the same. When |
created the teri “an educated gang"; { did not mean to offend anybody; word for word, that is what peer pressure is or
becomes if not stop in time, What if] was some nuts-crazy ( which I am not), and being pushed to the end, and | take
a machine gun ( which 1 will not) and because of schaol “gang-like behavior’ looses all opportunities to get to law
school, then they garnish my SSD check to pay the loans, so ] have nothing to live for, thus, this crazy student (not
me)goes out to the school and start killing people. This sound like it has happened before..wright?

There is a student that was having thoughts in doing just that . She was suspended for one year via Madame Jones. She
was going too MD school, so she desired to commit suicide--she could not because of her daughter. You people have
the power to destroy lives, but one day someone will act-out on his/her disturbing mind—or temporary insanity--and
cominit a crime in revenge, and I will be there to testify against you all. And you talk about career and experience,
you do not know what you are talking about. Like some of your students have told me slie is always into meeting,
conferences or too busy; but when it comes to doing what is right for the life and future of a student you fall way short
of being honest and professional, All of your employces will be summoned to testify...oh and the free housing!!! You
are way short of being professional...sorry for honest with yourself. That is the reason | am bound to continue
litigation and include you and Kat. So one day some crazy student would do something stupid and have innocents pay
for. You do not have a career yet Danielle. Please forgive my honesty, and accept this strong remarks from a good and

loyal friend you both once had.

All the same for you Kath.

Do not get angry at me but be ashamed of your actions through time.

 

 

 
